  8:09-cr-00048-LES-TDT       Doc # 56     Filed: 03/10/09    Page 1 of 1 - Page ID # 75




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:09CR48
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
ISIDRO DUARTE-ANDRADE,                            )
ROY LENOS-PAZ,                                    )
ROBERTO CAMACHO-GUTIERREZ and                     )
LUIS NANDI-CIPRIANO,                              )
                                                  )
                     Defendants.                  )
       This matter is before the court on the motion for an extension of time by defendant
Roy Lenos-Paz (Lenos-Paz) (Filing No. 55). Lenos-Paz seeks additional time in which to
file pretrial motions in accordance with the progression order (Filing No. 51). Lenos-Paz's
counsel represents that Lenos-Paz will file an affidavit wherein he consents to the motion
and acknowledges he understands the additional time may be excludable time for the
purposes of the Speedy Trial Act. Lenos-Paz's counsel represents that government's
counsel has no objection to the motion. Upon consideration, the motion will be granted and
the pretrial motion deadline will be extended as to all defendants.
       IT IS ORDERED:
       Defendant Lenos-Paz's motion for an extension of time (Filing No. 55) is granted.
All defendants are given until on or before April 24, 2009, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
March 10, 2009 and April 24, 2009, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendants' counsel
require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 10th day of March, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
